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                      IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION

 IN RE:                                               §
                                                      §
 PAULA SUE WENSTROM,                                  §            CASE NO. 21-31978-mvl
                                                      §            CHAPTER 11
        Debtor.                                       §


                           DEBTOR’S PLAN OF REORGANIZATION
                           UNDER SUBCHAPTER V OF CHAPTER 11

                                         Dated: January 13, 2022




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       Exhibit 2 – Schedule A/B
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                                   ARTICLE I. INTRODUCTION

        This Plan of Reorganization Under Subchapter V of Chapter 11 (the “Plan”) is proposed
by Paula Wenstrom, the debtor in this Bankruptcy Case (the “Debtor”). On November 1, 2021,
a voluntary petition for relief under Chapter 11 was filed against the Debtor in the United States
Bankruptcy Court for the Northern District of Texas, Dallas Division. The case was filed under
Subchapter V of Chapter 11 of the Bankruptcy Code. This Debtor’s Plan of Reorganization
Under Subchapter V of Chapter 11 is provided pursuant to the Bankruptcy Code to all the Debtor’
known creditors and other parties in interest. Under the Plan the Debtor will pay $1,000.00 per
month to Allowed Unsecured Claims over 36 months. The details of the Plan are set out in
Article VI of this document.

       At the time of filing this Plan, a Subchapter V Trustee has been appointed in this Case.
The Trustee will be responsible for monitoring the Case and ensuring the Debtor’s compliance
with the applicable provisions of the U.S. Bankruptcy Code.

    YOUR RIGHTS MAY BE AFFECTED. YOU SHOULD READ THESE PAPERS
CAREFULLY AND DISCUSS THEM WITH YOUR ATTORNEY. IF YOU DO NOT
HAVE AN ATTORNEY, YOU MAY WISH TO CONSULT ONE.


                                    ARTICLE II. DEFINITIONS

        Except as expressly provided herein or unless the context otherwise requires, the terms set
forth in this Article II shall have the following meanings when used in initially capitalized form in
this Plan. Any term used in initially capitalized form that is not defined herein, but that is defined
in the Bankruptcy Code, shall have the meaning assigned to such term in the Bankruptcy Code.
Such meanings shall be equally applicable to both the singular and plural forms of such terms.

       2.1     “Administrative Expense Claim” means an administrative expense or claim
described in Bankruptcy Code § 503 and entitled to administrative priority pursuant to Bankruptcy
Code § 507(a)(1), including, but not limited to, Fee Claims.

        2.2     “Allowed Amount” means the amount of any Allowed Claim.

         2.3     “Allowed Claim” means a Claim against the Debtor allowable under the
Bankruptcy Code to the extent that: (i) a Proof of Claim or request for payment was timely filed,
or, with leave of the Bankruptcy Court, late filed, and as to which no objection has been timely
filed with the Bankruptcy Court, or, if filed, is allowed by a Final Order, unless otherwise provided
in this Plan; (ii) the Claim is scheduled and not listed as disputed, contingent, or unliquidated, and
no objection has been timely filed or, if filed, is allowed by a Final Order; or (iii) with respect to
an Administrative Expense Claim or Fee Claim, the Administrative Expense Claim or Fee Claim
has been approved by a Final Order upon notice and application to the Bankruptcy Court.

       2.4      “Assets” means property of the Estate.




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        2.5     “Avoidance Actions” means any and all rights, claims, and causes of action which
a trustee, Debtor, or other appropriate party in interest would be able to assert on behalf of the Estate
under applicable state statutes or the avoidance provisions of chapter 5 of the Bankruptcy Code,
including actions under one or more of the provisions of Bankruptcy Code §§ 506, 542-551, and
553.

      2.6     “Bankruptcy Case” or “Case” means bankruptcy case: Case No. 21-31978 in the
name of Paula Wenstrom, pending before the Bankruptcy Court.

       2.7     “Bankruptcy Code” or “Code” means the United States Bankruptcy Code,
11 U.S.C. §§ 101, et seq., as amended.

        2.8      “Bankruptcy Court” or “Court” means the United States Bankruptcy Court for
the Northern District of Texas, Dallas Division, or other such court that may have jurisdiction with
respect to the reorganization of the Debtor pursuant to Chapter 11 of the Bankruptcy Code.

      2.9     “Bankruptcy Rules” means the Federal Rules of Bankruptcy Procedure, as
amended, and “Bankruptcy Rule” refers to a specific rule therein.

        2.10     “Bar Date” means January 10, 2022, the deadline established by the Bankruptcy
Court pursuant to Bankruptcy Rule 3003(c)(3), after which any Proof of Claim may not be timely
filed, except Claims held by governmental agencies.

        2.11     “Business Day” shall mean any day that is not a Saturday, Sunday, or one of the
legal holidays listed in Bankruptcy Rule 9006(a).

        2.12     “Claim” shall have the meaning set forth in Bankruptcy Code § 101(5).

        2.13     “Claimant” or “Creditor” means the holder of a Claim or interest in the Assets.

        2.14    “Class” means any class into which Claims are classified pursuant to Article VI
of the Plan. Each subclass of a class shall be treated as a separate class.

       2.15    “Collateral” means any Assets of the Debtor subject to a valid Lien held by a
Secured Creditor.

        2.16     “Confirmation” means the Bankruptcy Court’s entry of the Confirmation Order.

       2.17      “Confirmation Date” means the date on which the Order confirming this Plan is
entered.

      2.18    “Confirmation Hearing” means the hearing or hearings held before the
Bankruptcy Court in which the Debtor will seek Confirmation of this Plan.

        2.19     “Confirmation Order” means the Order confirming this Plan.

       2.20       “Contested” when used with respect to a Claim, means a Claim against the
Debtor: (i) that is listed in the Debtor’s Schedules of Assets and Liabilities as disputed, contingent,


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or unliquidated; (ii) that is listed in the Debtor’s Schedules of Assets and Liabilities as undisputed,
liquidated, and not contingent and as to which a Proof of Claim has been filed with the Bankruptcy
Court, to the extent the Proof of Claim amount exceeds the scheduled amount; (iii) that is the
subject of a pending action in a forum other than the Bankruptcy Court unless such Claim has
been determined by Final Order in such other forum and Allowed by Final Order of the
Bankruptcy Court; or (iv) as to which an objection has been or may be timely filed and has not
been denied by Final Order. To the extent an objection relates to the allowance of only a part of a
Claim, such Claim shall be a Contested Claim only to the extent of the objection.

       2.21     “Debtor” means Paula Wenstrom, the Debtor herein. Where the context so
requires, “Debtor” shall also include the Reorganized Debtor.

       2.22     “Disputed” with respect to a Claim means either: (i) a Claim which has been
objected to by the Debtor; or (ii) a Claim that is listed on the Debtor’s bankruptcy schedules as
“disputed, contingent or unliquidated” and for which such Creditor or Interest holder has not filed
a Proof of Claim.

        2.23     “Effective Date” means the thirtieth (30th) day after the Confirmation Date.

        2.24     “Estate” means the bankruptcy estate of the Debtor in this Case.

      2.25    “Fee Claim” means a Claim under Bankruptcy Code §§ 330 or 503 for allowance
of compensation and reimbursement of expenses to professionals in this Bankruptcy Case.

       2.26     “Fee Application” means an application filed with the Bankruptcy Court for
allowance of a Fee Claim.

       2.27     “Final Order” means an Order as to which any appeal that has been taken has
not been stayed following the expiration of the time for appeal or has been resolved, or as to which
the time for appeal has expired.

          2.28     “Impaired” means the treatment of an Allowed Claim or Interest pursuant to the
Plan unless, with respect to such Claim or Interest, either: (i) the Plan leaves unaltered the legal,
equitable and contractual rights to which such Claim or Interest entitles the holder of such Claim
or Interest; (ii) notwithstanding any contractual provision or applicable law that entitles the holder
of such Claim or Interest to demand or receive accelerated payment of such Claim or Interest after
occurrence of a default, the Debtor (A) cures any default that occurred before or after the
commencement of the Chapter 11 Case on the Petition Date, other than default of the kind
specified in § 365(b)(2) of the Bankruptcy Code; (B) reinstates the maturity of such Claim or
Interest as such maturity existed before such default; (C) compensates the holder of such Claim
or Interest for any damages incurred as a result of any reasonable reliance by such holder on such
contractual provision or such applicable law; and (D) does not otherwise alter the legal, equitable
or contractual rights to which such Claim or Interest entitles the holder of such Claim or Interest;
or (iii) the Plan provides that on the Effective Date, the holder of such Claim or Interest receives,
on account of such Claim or Interest, cash equal to the Allowed Amount of such Claim or Interest.

        2.29     “Insider” has the meaning provided by § 101(31) of the Bankruptcy Code.


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       2.30     “Interest” means any equity or ownership interest in the Debtor.

       2.31    “Lien” means any charge against or interest in property to secure payment of debt
or performance of an obligation and includes a judicial lien, security interest, and deed of trust,
mortgage and property tax lien.

       2.32     “Order” means an Order of the Bankruptcy Court.

       2.33    “Petition Date” means November 1, 2021, the date on which a voluntary petition
in bankruptcy was filed by the Debtor.

       2.34    “Plan” means this Plan of Reorganization Under Subchapter V of Chapter 11,
including any amendments, modifications or corrections made thereto pursuant to the Bankruptcy
Code.

       2.35    “Priority Tax Claim” means a Claim entitled to priority pursuant to Bankruptcy
Code § 507(a)(8).

       2.36    “Priority Wage Claim” means a Claim entitled to priority pursuant to Bankruptcy
Code § 507(a)(4)(A).

        2.37    “Proof of Claim” means a written statement setting forth a Creditor’s Claim filed
in this Case and conforming substantially to the appropriate official form.

       2.38    “Schedules and Statements” means and refers to each of the Debtor’ bankruptcy
schedules A/B, D-H and Statement of Financial Affairs.

        2.39    “Secured Claim” means a Claim that is secured within the meaning of Bankruptcy
Code § 506(a). Should the value of the collateral securing a Secured Claim be less than the amount
of the Claim, the Claim will be bifurcated into a Secured Claim equal to the value of the collateral
and an Unsecured Claim for the remainder.

       2.40     “Unsecured Claim” means any Claim that is not a Secured Claim or an
Administrative Expense Claim and that is not entitled to priority treatment under Bankruptcy Code
§ 507.

                ARTICLE III. VOTING ON THE PLAN AND OBJECTIONS

        3.1     Who May Vote

        You are entitled to vote on the Plan unless:

                (1)      your Claim or Interest is Disputed (as defined herein);

                (2)      your Class receives no distribution (presumed to reject the Plan);

                (3)      your Class is “unimpaired” (presumed to accept the Plan – See Article VI
                         to see if your Class is Impaired or unimpaired); or


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                (4)      your Claim is unclassified (and thus required by law to be paid in full).

       If your Claim or Interest is Disputed, then you must file a motion and have it allowed for
voting purposes (you must do that soon so that your motion can be heard before votes are counted.
See Bankruptcy Rule 3018(a)).

        3.2     How to Vote

       Fill out and return the attached ballot (if you are entitled to vote) by the deadline and
according to the other instructions in the enclosed order regarding voting and procedures.

        3.3     Effect of Vote

         After a plan of reorganization has been filed, it must either be accepted by holders of claims
against, or interests in, the debtor, or be found by the Court not to discriminate unfairly and that it
is fair and equitable with respect to each class of claims or interests that is impaired under the plan
or that has not accepted the plan.

        Acceptance of the plan by the Creditors and Equity Interest Holders is important. In order
for the plan to be accepted by each class of claims, the creditors that hold at least two thirds (2/3)
in amount and more than one-half (½) in number of the allowed claims actually voting on the plan
in such class must vote for the plan and the equity interest holders that hold at least two-thirds
(2/3) in amount of the allowed interests actually voting on the plan in such class must vote for the
plan. A Subchapter V Chapter 11 does not require that each holder of a claim against, or interest
in, the debtor vote in favor of the plan in order for it to be confirmed by the Court.

        3.4     Who May Object

       Even if you are not entitled to vote, you may object to Confirmation of the Plan if you
believe that the requirements for Confirmation are not met (and if you are a party in interest in this
bankruptcy case). For the deadlines and procedures to object, see the enclosed order.

                                   ARTICLE IV. BACKGROUND

        4.1     Background of the Debtor and Events Leading to Bankruptcy

        The Debtor is a broker for the sale of office furnishings. The Debtor is self-employed. As
a result of COVID issues her business had dropped off significantly reducing here income. In the
past few months the Debtor’s business has picked back up and she now believes she has a stead
income that will permit her to propose a workable Plan.

        4.2     Significant Events Since the Petition Date

                a.       On November 1, 2021 Debtor filed a voluntary petition under Chapter 11
                         of the Bankruptcy Code.




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                b.       On December 23, 2022, the Court entered an order granting the Debtor’s
                         application to retain Joyce W. Lindauer Attorney, PLLC as general
                         bankruptcy counsel.

                c.       The Monthly Operating Reports filed by the Debtor to date during the Case
                         are attached hereto as Exhibit “1”.

        4.3     Assets of the Debtor

        The Debtor scheduled the following Assets owned as of the Petition Date:

                Cash                                                         $62.00
                Vehicle                                                      $3,000.00
                Personal and Household Items                                 $54,250.00
                Homestead                                                    $2,300,000.00
                Equity Interest in Business                                  $2,000.00
                Security Deposits and Prepayments                            $950.00

                         Total Assets                                        $2,360,262.00

        The Assets are listed in detail on the Debtor’s Schedule A/B, a copy which is attached
hereto as Exhibit “2”.

        4.4     Liabilities of the Debtor

         According to the Debtor’s Schedules and the Proofs of Claim filed in his Case, the Debtor’s
liabilities, both Disputed and undisputed (excluding Administrative Expense Claims) totaled
$1,266,228.85 as of the Petition Date.

        The Debtor’ liabilities are further described as follows:

           a.        Administrative Expense Claims.

       The Estate will be liable for certain Administrative Expense Claims pursuant to Bankruptcy
Code §503(b) through the Confirmation Date, including Fee Claims of Joyce W. Lindauer
Attorney, PLLC as the Debtor’s bankruptcy counsel and the fees and expenses of the Sub V
Trustee. Before the Debtor pays any Fee Claims, the Bankruptcy Court will have determined the
reasonableness of such fees and expenses.

           b.        Priority Tax Claims.

        The IRS has a priority tax claim in the amount of $40,990.57. The Debtor reserves the right
to object to any of the Priority Claims.

           c.        Secured Claims.

        Total Secured Claims, based on the Debtor’s Schedules and the Proofs of Claim on file,
are $1,188,621.47. The Debtor reserves the right to object to any of the Secured Claims.

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            d.      General Unsecured Claims.

        According to the Proof of Claim and the Debtor’s Schedules, the Debtor owed total
 Unsecured Claims of approximately $24,097.52. The Debtor reserves the right to object to any of
 the Unsecured Claims

         4.5     Tax Consequences of the Plan

                 a.      Disclaimer. The Debtor does not purport to provide tax advice to the
         holders of Claims. The following is intended only as a summary of possible federal income
         tax consequences of the Plan and is not a substitute for careful tax planning with a tax
         professional. The following is for information purposes only and is NOT tax advice. The
         tax consequences are in many cases uncertain and may vary depending on a holder’s
         individual circumstances. Accordingly, holders of Claims are urged to consult with their
         tax advisors about the federal, state, local, and foreign tax consequences of the Plan on
         their tax returns and tax liabilities.

                 b.       Tax Consequences. Implementation of the Plan may result in federal
         income tax consequences to holders of Claims or Interests and the Debtor. Tax
         consequences to a particular Claim or Interest holder may depend on the particular
         circumstances or facts regarding the Claim or Interest. IRS Publication 908, entitled
         “Bankruptcy Tax Guide” provides valuable information regarding the federal income tax
         aspects of bankruptcy. The “Bankruptcy Tax Guide” is available directly from the IRS
         online at http://www.irs.gov/pub/irs-pdf/p908.pdf.

                  c.      Cancellation of Debt. Cancellation of the Debtor’s debt (“COD”) is
         generally considered as taxable income of the Debtor. COD is the amount by which the
         indebtedness discharged exceeds any consideration given in exchange. However, there are
         exceptions which prevent COD from being treated as taxable income. To the extent the
         Debtor is insolvent or the Debtor is discharged in a bankruptcy proceeding, as is the case
         at bar, the Internal Revenue Code excludes COD from income. The statutory exclusion for
         COD from the Debtor’s gross income in a Chapter 11 bankruptcy case arises where a
         discharge is granted by the Court as is requested in the Plan.

                 d.       Holders of Allowed Claims. The tax consequences associated with
         distributions under the Plan to the holders of an Allowed Claim will depend on, among
         other things: (i) the consideration received or deemed to have been received by the holder
         of any such Claim; (ii) whether the Allowed Claim holder reports income on an accrual or
         cash basis; (iii) the taxable year in which any distributions under the Plan are received by
         the Allowed Claim holder; (iv) whether the Claim was Allowed or Contested/Disputed as
         of the Effective Date; and (v) whether such Allowed Claim holder had previously written
         the obligation off as bad debt. ALLOWED CLAIM HOLDERS ARE URGED TO
         CONSULT WITH THEIR TAX ADVISORS ABOUT THE FEDERAL, STATE, LOCAL
         AND FOREIGN TAX CONSEQUENCES OF THE PLAN.




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                          ARTICLE V. CHAPTER 7 LIQUIDATION ANALYSIS

         Section 1129(a)(7) of the Bankruptcy Code requires that a Chapter 11 plan of
 reorganization must provide at least as much value to each Impaired Creditor as could be realized
 in a liquidation under Chapter 7 of the Bankruptcy Code.

         In determining whether the requirements of Section 1129(a)(7) of the Bankruptcy Code
 have been met, the first step is to determine the dollar amount that would be generated from a
 hypothetical liquidation of the Debtor’s assets in Chapter 7. Such amounts must then be reduced
 by the costs and expenses of the liquidation. Further reductions would be required to eliminate
 cash and asset liquidation proceeds that would be applied to Secured Claims and amounts
 necessary to satisfy Priority Claims that are senior to general Unsecured Claims (and
 Administrative Expense Claims that may result from the termination of the Debtor’s business and
 the liquidation of its assets).

            Liquidation Analysis

        Liabilities shown below are as scheduled by the Debtor, unless the Claimant has filed a
 proof of claim stating a different amount. The Debtor’s retirement accounts and homestead, as
 disclosed above, are exempt and would not be available to creditors in a Chapter 7 liquidation.
 The Debtor believes that her equity interest in her 100% owned professional association would
 have no value in a Chapter 7 liquidation.

            Assets

            Cash                                                                      $62.00
            Vehicle (Exempt assets)                                                   $ 0.00
            Personal and Household Items (Exempt assets)                              $ 0.00
            Homestead (100% exemption) subject to mortgage debt                       $ 0.00
            Equity Interest in Business (no value in Ch7 liquidation)                 $ 0.00
            Security Deposits and Prepayments                                         $950.00

                     Total Assets                                                     $1,012.00

            Liabilities

            Administrative Expenses and UST Fees                                      $15,0001
            Secured Claims of PNC Mortgage, Dallas County
                     and Internal Revenue Service                                     $1,188,621.47
            Priority Tax Claims                                                       $40,990.57
            General Unsecured Claims                                                  $24,097.52

                     Total Liabilities                                                $1,268,709.56


 1
     Debtor’s estimate.


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 TOTAL ASSETS LESS TOTAL LIABILITIES                                           <$1,267,697.56>

        NOTE: Under the above liquidation analysis, Unsecured Claimants would receive no
 distributions in a Chapter 7 case. Under this Plan; however, Unsecured Claimants will
 receive distributions each month for 36 months. This Plan does not contemplate a liquidation
 of the Assets.

                          ARTICLE VI. PLAN OF REORGANIZATION
         6.1     Treatment of Unclassified Claims, Administrative Expense Claims, Priority
                 Tax Claims, and U.S. Trustee Fees

                a.      Unclassified Claims. All Allowed Claims (except Administrative Expense
         Claims and Priority Tax Claims) are placed in Classes for all purposes, including voting
         on, confirmation of, and distributions under this Plan. In accordance with Bankruptcy Code
         § 1123(a)(1), Administrative Expense Claims and Allowed Priority Tax Claims have not
         been classified.

                b.      Administrative Expense Claims. Each holder of an Administrative
         Expense Claim under Bankruptcy Code § 503 shall receive either: (i) with respect to
         Administrative Expense Claims which are Allowed Claims on the Effective Date, the
         amount of such holder’s Allowed Claim in one cash payment, within ten (10) days after
         the Effective Date, from the Debtor; (ii) with respect to Administrative Expense Claims
         which become Allowed Claims after the Effective Date, the amount of such holder’s
         Allowed Claim, in one cash payment from the Debtor within ten (10) days after such Claim
         becomes an Allowed Administrative Expense Claim; or (iii) such other treatment agreed
         upon by the Debtor and such holder.

                          1.     Fee Claims. Each professional person whose retention with respect
                 to this Case has been approved by the Bankruptcy Court or who holds, or asserts,
                 an Administrative Expense Claim that is a Fee Claim shall be required to file with
                 the Bankruptcy Court a final fee application within sixty (60) days after the
                 Effective Date and to serve notice thereof on all parties entitled to such notice. The
                 Subchapter V Trustee is a professional in this case. The failure to file timely any
                 such application as required shall result in the Fee Claim being forever barred and
                 discharged. A Fee Claim, with respect to which a Fee Application has been properly
                 filed, shall become an Administrative Expense Claim only to the extent allowed by
                 Final Order. Fee Claims shall be paid either: (i) with respect to Fee Claims which
                 are Allowed Claims on the Effective Date, the amount of such holder's Allowed
                 Claim in one cash payment, within ten (10) days after the Effective Date, from the
                 Debtor; (ii) with respect to Fee Claims which become Allowed Claims after the
                 Effective Date, the amount of such holder's Allowed Claim, in one cash payment
                 from the Debtor within ten (10) days after such Claim becomes an Allowed Fee
                 Claim; or (iii) such other treatment agreed upon by the Debtor and such holder.




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                         2.      Administrative Expense Claims Bar Date. Any other person or
                 entity who claims to hold an Administrative Expense Claim (other than a Fee
                 Claim) shall be required to file with the Bankruptcy Court an application within
                 sixty (60) days after the Effective Date and to serve notice thereof on all parties
                 entitled to such notice. The failure to file timely the application as required under
                 this section) of this Plan shall result in the Claim being forever barred and
                 discharged. An Administrative Expense Claim with respect to which an application
                 has been properly filed and to which no timely objection has been filed or an
                 objection has been filed but overruled by the Bankruptcy Court, shall become an
                 Allowed Claim to the extent such Claim is allowed by Final Order.

                  c.     Priority Tax Claims. Priority Tax Claims shall be paid in full over the time
         period from the Petition Date to the expiration of five (5) years from the Petition Date, with
         interest thereon at the rate of interest of 3% per annum. The Claims will be paid in equal
         monthly installments of principal and interest, commencing on the first day of the first
         month following the Effective Date and continuing on the first day of each month
         thereafter. Interest shall begin to accrue as of the Petition Date. These Claimants shall
         retain their pre- and post-Petition Date statutory Liens securing this Claim until it is paid
         in full.

                  d.     Priority Wage Claims. Any holder of an Allowed Priority Wage Claim
         within the meaning of Bankruptcy Code § 507(a)(4) will be paid in full in three (3) equal
         monthly installments of principal and interest at the rate of 2% per annum. Payments will
         commence on the first day of the first month following the Effective Date and continue on
         the first day of each month thereafter until paid in full. The Debtor does not believe any
         such Claims exist. There are no claims in this Class.

         6.2     Classification of Claims and Interests

        Claims against the Debtor, excluding Administrative Expense Claims, Priority Tax Claims
 and Priority Wage Claims, are divided into the following Classes:

         Class 1 Claim: Allowed Secured Claim of PNC Mortgage

         Class 2 Claim: Allowed Secured Claim of Dallas County

         Class 3 Claim: Allowed Secured Claim of Internal Revenue Service.

         Class 4 Claim: Allowed Priority Tax Claim of Internal Revenue Service

         Class 5 Claims: Allowed Unsecured Claims.

         Class 6 Debtor.

         6.3     Claims and Interests Impaired Under the Plan

        The Claims in Classes 1, 2, 3, 4, and 5 are Impaired and entitled to vote on this Plan.
 Class 3 is not Impaired and is deemed to have accepted the Plan.

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         6.4     Treatment of Classified Claims and Interests Under the Plan

                 General Provisions Regarding Treatment of Claims.

        All Allowed Secured Claimants shall retain all their liens on any property securing their
 Claims.

         No Claimant shall be entitled to a pre-payment penalty if their Claim is paid early.

        Should the value of the Collateral securing a Secured Claim be less than the amount of the
 Claim, the Claim will be bifurcated into a Secured Claim equal to the value of the Collateral and
 an Unsecured Claim for the remainder.

         Class 1: Allowed Secured Claim of PNC Mortgage. The Class 1 Claim shall be paid the
 original contractual payment amount starting on the Effective Date and the loan will be extended
 to continue such payments for as long as it takes to cure the arrearage amount. The arrearage will
 be paid on the same terms as the original loan amount. This Claimant shall retain its pre-Petition
 Date Liens securing this Claim. This claim is IMPAIRED.

         Class 2: Allowed Secured Claim of Dallas County. The Class 2 Claim shall be paid in
 full in equal monthly installments over 60 months with interest thereon at the rate of 12% per
 annum. The payments shall begin on the first day of the first month following the Effective Date
 and continue on the first day of each subsequent month until the Claim is paid in full under the
 Plan. Interest shall begin to accrue as of the Petition Date. This Claimant shall retain its pre-
 Petition Date Liens securing this Claim. This claim is IMPAIRED.

         Class 3: Allowed Secured Claim of Internal Revenue Service. The Class 3 Claim shall
 be paid in full in equal monthly installments over 60 months with interest thereon at the rate of 3%
 per annum. The payments shall begin on the first day of the first month following the Effective
 Date and continue on the first day of each subsequent month until the Claim is paid in full under
 the Plan. Interest shall begin to accrue as of the Petition Date. This Claimant shall retain its pre-
 Petition Date Liens securing this Claim. This claim is IMPAIRED.

         Class 4: Allowed Priority Tax Claims. The Class 4 Claims shall be paid in full over the
 time period from the Petition Date to the expiration of five (5) years from the Petition Date, with
 interest thereon at the rate of interest of 3% per annum. The Claims will be paid in equal monthly
 installments of principal and interest, commencing on the first day of the first month following the
 Effective Date and continuing on the first day of each month thereafter. Interest shall begin to
 accrue as of the Petition Date. These Claimants shall retain their pre- and post-Petition Date
 statutory Liens securing this Claim until it is paid in full. This claim is IMPAIRED.

         Class 5: Allowed Unsecured Claims. Each Class 5 Claimant shall receive its pro-rata
 share of $1,000.00 per month, payable over 36 months in equal monthly installments commencing
 on the first day of the first month following the Effective Date and continuing on the first day of
 each month thereafter. The Debtor’s total payments to Class 5 Creditors will be $36,000.00.


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        In the alternative, if the Plan is determined to be a “non-consensual” plan under Bankruptcy
 Code Section 1191(b), all of the Debtor’s disposable income will be paid pro-rata to Class 5
 Claimants on a monthly basis over 36 months. “Disposable income” shall mean all income
 remaining after the Debtor’s payment of her reasonable and necessary expenses. These Claims are
 IMPAIRED.

         Class 6: Debtor. Class 6 Debtor shall retain all her exempt and non-exempt property. This
 Class is not Impaired.

         6.5     Implementation of the Plan

                a.      Source of Payments. The Debtor intends to make all payments required
         under the Plan from her available cash and income.

                b.      Risk Factors. Consider carefully the factors set forth below and the other
         information set forth in this Plan prior to voting on the Plan. These risk factors should not,
         however, be regarded as constituting the only risks involved with the Plan and its
         implementation.

                 Bankruptcy Considerations. Although the Debtor believes that the Plan satisfies
         all requirements necessary for Confirmation, there can be no assurance that the Court will
         reach the same conclusion. Moreover, there can be no assurance that modifications of the
         Plan will not be required for Confirmation or that such modifications would not necessitate
         the re- solicitation of votes to accept the Plan as modified.

         6.6     Feasibility of the Plan

         The Debtor believes that the Plan is feasible because all creditors with Allowed Claims
 will be paid under fair and equitable terms. Projections for the feasibility of the Plan are attached
 hereto as Exhibit “3” and incorporated herein by this reference. Debtor believes the Plan will
 meet the Subchapter V requirements for Confirmation.

         6.7     Provisions Regarding Distributions and Objections to Claims

                 a.      Time of Payment. The first month in which payments will be made under
         this Plan will be as provided by the terms of this Plan.

                 b.      Delivery of Payment. All payments or distributions required under this
         Plan shall be made to holder of the applicable Claim at: (i) the address set forth on the
         Proofs of Claim filed by such holders (or at the last known address of such holders if no
         Proof of Claim is filed or if the Debtor has been notified of a change of address); (ii) the
         address set forth in any written notices of address change delivered to the Debtor after the
         date of any related Proof of Claim; or (iii) if neither of the foregoing is applicable, at the
         addresses reflected in the Debtor’ bankruptcy schedules, unless otherwise agreed to by the
         holder of such Claim and the Debtor.

                c.     Confirmation under Section 1191(b) – Sub-Chapter V Trustee. If the
         Plan is Confirmed as a non-consensual plan under the provisions of 11 U.S.C. section

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         1191(b), the Trustee shall serve as the payment administrator pursuant to 11 U.S.C. section
         1194(b) for the purpose of making distributions under the Plan. Distributions to Class 1
         and 2 Creditors will be made by the Trustee in accordance with the following procedures:

                    1.       Plan Payments. During the period of payments under the Plan (the
                             “Payment Period”), the Debtor shall pay to the Trustee the monthly
                             projected disposable income amount as required under the plan on or
                             before the 10th day of each calendar month following the Effective Date
                             (the “Plan Payments”). Trustee shall make all payments of distributions
                             to creditors from the Plan Payments. Such remittances shall occur no less
                             frequently than fifteen (15) days after the first day of each month
                             following receipt of a Plan Payment from the Reorganized Debtor. The
                             Trustee shall make such distributions from an account to be established
                             by the Trustee at an institution on the approved U.S. Trustee depository
                             list account, which shall be maintained by the Trustee for the duration of
                             the Payment Period until Plan consummation following the final payment
                             required under the Plan (the “Trustee Account”).

                    2.       Disbursements to Allowed Claimants. As soon as is reasonably
                             practicable after the Effective Date, the Trustee shall initiate
                             disbursement of Plan Payments from the Trustee Account, less amounts
                             reserved for the Trustee’s fees and expenses, to the holders of Allowed
                             Administrative Claims until paid in full and to Class 1 and 2 Claims based
                             on the total amount of Allowed Claims. For the avoidance of doubt, the
                             disbursement to holders of Allowed Claims will be reduced in an amount
                             equal to the Trustee's Allowed fees and costs incurred as Trustee.

                    3.       Post-Confirmation Fees and Expenses of the Trustee. The Trustee
                             shall be entitled to recoup reasonable fees and costs incurred performing
                             his obligations as Trustee under this paragraph from the Plan Payments
                             by submitting a fee and expense statement to the Reorganized Debtors,
                             the Office of the United States Trustee, and Holders of Allowed Claims
                             (the "Notice Parties"). The Trustee shall be compensated for his post-
                             confirmation duties at his normal hourly rate and shall be paid from the
                             amounts paid by the Debtor for Plan Payments. The amount distributed
                             or reserved to creditors will be net of the amounts remitted by the
                             Reorganized Debtor to the Trustee. The Trustee’s fees and expense shall
                             be disclosed in the quarterly report filed with the Court. All parties in
                             interest will have 21 days after the quarterly report is filed to object to the
                             Trustee’s fees and expenses disclosed therein. If no objection is received,
                             the Trustee may disburse his fees and expenses from the Plan Payments
                             without further order of the Court.

               d.      No Distribution Pending Allowance or Estimation of Claims. No
         payments or distributions shall be made with respect to all or any portion of a Contested
         Claim unless and until such Claim becomes an Allowed Claim or Allowed Interest, as


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         determined by Final Order. No holder of a Claim shall be entitled to any payment under
         the Plan if such holder has retained property of the Estate.

                 e.      Objections to Claims. Any party authorized by the Bankruptcy Code may
         object to the allowance of prepetition Claims at any time prior to sixty (60) days after the
         Effective Date or, as to Claims based upon the Debtor’s rejection pursuant to this Plan of
         an executory contract or unexpired lease, at any time prior to thirty (30) days after the filing
         of any such rejection Claim. Any Proof of Claim filed after the Bar Date shall be of no
         force and effect and shall be deemed disallowed. All Contested Claims shall be litigated to
         Final Order; provided, however, that the Reorganized Debtor may compromise and settle
         any Contested Claim, subject to the approval of the Bankruptcy Court. Notwithstanding
         the foregoing, a person who is found to have received a voidable transfer shall have thirty
         (30) days following the date upon which the order ruling that such transfer is avoidable
         becomes a Final Order in which to file a Claim in the amount of such avoided transfer.

                 f.      Suspension of Payments on Disputed Claims. If any Claim has been
         objected to within the time required, the Debtor shall segregate and set aside, from the
         funds on hand for distribution to the Claimant’s Class, funds sufficient to satisfy the
         payment otherwise due on the Claim according to the provisions of the Plan. In the event
         that the claim objection is overruled or a dispute is resolved favorably to the party asserting
         the Claim, then the funds shall be paid to the Creditor in accordance with applicable Class
         provisions. In the event that the Disputed Claim is disallowed, the funds segregated in
         deference to the Claim shall be disbursed to other parties in interest, according to the
         applicable provisions of the Plan.

         6.8     Executory Contracts

                 a.     General Provisions. “Assumption” of an executory contract or unexpired
         lease means that the Debtor has elected to continue to perform the obligations under such
         contracts and unexpired leases, and to cure defaults of the type that must be cured under
         the Bankruptcy Code, if any. If you object to the assumption, and if applicable the
         assignment, of your unexpired lease or executory contract under the Plan, the proposed
         cure of any defaults, or the adequacy of assurance of performance, you must file and serve
         your objection to the Plan within the deadline for objecting to Confirmation, unless the
         Court has set an earlier time.

                 b.      General Rejection of Executory Contracts and Unexpired Leases.
         Except for executory contracts and unexpired leases that have been assumed, and if
         applicable assigned, before the Effective Date or under this section of this Plan, or that are
         the subject of a pending motion to assume, and if applicable assign, or that were entered
         after the Petition Date, the Debtor will be conclusively deemed to have rejected all
         executory contracts and unexpired leases as of the Effective Date.




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                           ARTICLE VII. RESERVATION OF CLAIMS

         7.1     Reservation of Claims and Causes of Action

          Any and all claims, causes of action, cross claims, or counterclaims held or assertable by
 the Debtor, including but not limited to: (i) any claim or cause of action under a policy of liability
 insurance or otherwise; (ii) the Avoidance Actions; and (iii) any and all claims, causes of action,
 counterclaims, demands, controversies, against third parties on account of costs, debts, sums of
 money, accounts, reckonings, bonds, bills, damages, obligations, liabilities, objections, and
 executions of any nature, type, or description which the Debtor have or may come to have,
 including, but not limited to, negligence, gross negligence, usury, fraud, deceit, misrepresentation,
 conspiracy, unconscionability, duress, economic duress, defamation, control, interference with
 contractual and business relationships, conflicts of interest, misuse of insider information,
 concealment, disclosure, secrecy, misuse of collateral, wrongful release of collateral, failure to
 inspect, environmental due diligence, negligent loan processing and administration, wrongful
 setoff, violations of statutes and regulations of governmental entities, instrumentalities and
 agencies (both civil and criminal), racketeering activities, securities and antitrust violations, tying
 arrangements, deceptive trade practices, breach or abuse of fiduciary duty, breach of any alleged
 special relationship, course of conduct or dealing, obligation of fair dealing, obligation of good
 faith, whether or not in connection with or related to this Plan, at law or in equity, in contract or in
 tort, or otherwise, known or unknown, suspected or unsuspected, are hereby preserved and retained
 for enforcement by the Debtor as of the Confirmation Date. It is the intent of the Debtor that this
 reservation of claims shall be as broad as permitted by applicable law and shall include all claims,
 whether or not disclosed in the Debtor’ Schedules and Statements.

         7.2     Return of Fraudulent Transfers

        Any Creditor determined to have received a transfer that is voidable pursuant to sections
 544, 547, 548, 549, and/or 550 of the Bankruptcy Code or any other applicable law shall be
 required to remit to the Debtor the determined amount of the avoided transfer prior to receiving
 any distribution under this Plan.

               ARTICLE VIII. EFFECT OF CONFIRMATION, DISCHARGE,
                            RELEASES AND INJUNCTION

         8.1     Vesting of Property

         On the Confirmation Date of the Plan, all property of the Estate shall vest in the Debtor
 pursuant to sections 1141(b) and (c) of the Bankruptcy Code, free and clear of all Claims and
 interests except as otherwise provided in this Plan. This Plan will evidence the release of any and
 all Liens or encumbrances against all property dealt with by the Plan, unless such Lien or
 encumbrance is specifically retained in the Plan. However, If the Plan is Confirmed as a non-
 consensual plan under the provisions of 11 U.S.C. section 1191(b), the property of the Estate will
 not re-vest in the Debtor on the Confirmation Date but will remain as property of the Estate until
 the final payment is made under the plan.




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         8.2     Plan Creates New Obligations

         Except as otherwise provided in the Plan, (1) the payment terms promised in the Plan
 constitute new contractual obligations that replace any payment terms that existed prior to the
 Effective Date, and (2) all rights and obligations other than those new payment terms continue to
 apply.

         8.3     Legal Binding Effect

        The provisions of this Plan shall bind all holders of Claims and Interests, whether or not
 they accept this Plan.

         8.4     Discharge

         If the Debtor’s Plan is confirmed under § 1191(a), on the Effective Date of the Plan the
 Debtor will be discharged from any debt that arose before Confirmation of this Plan, to the extent
 specified in § 1141(d)(1)(A) of the Code, except that the Debtor will not be discharged of any debt:
 (i) imposed by this Plan; or (ii) to the extent provided in § 1141(d)(6).
          If the Debtor’s Plan is confirmed under § 1191(b), Confirmation of this Plan does not
 discharge any debt provided for in this Plan until the court grants a discharge on completion of all
 payments due within the first three years of this Plan, or as otherwise provided in § 1192 of the
 Code. The Debtor will not be discharged from any debt: (i) on which the last payment is due after
 the first three years of the plan, or as otherwise provided in § 1192; or (ii) excepted from discharge
 under § 523(a) of the Code, except as provided in Rule 4007(c) of the Federal Rules of Bankruptcy
 Procedure.
         8.5     Satisfaction of Claims and Interests

         Except as otherwise provided by the Plan, the consideration distributed under the Plan shall
 be in complete satisfaction of all Claims of any Creditor, including Claims arising prior to the
 Effective Date.

         8.6     Temporary Injunction

         Except as otherwise expressly provided in, or permitted under, this Plan, the Confirmation
 Order shall provide, among other things, that all Creditors and persons who have held, hold, or
 may hold Claims or Interests against the Debtor or any third-party guarantor, are enjoined on and
 after the Effective Date as long as the Plan is not in default and has not been completed against
 the: (i) commencement or continuation of any judicial, administrative, or other action or
 proceeding against the Debtor or any third-party guarantor on account of Claims against the
 Debtor; (ii) enforcement, attachment, collection, or recovery by any manner or means of any
 judgment, award, decree, or order against the Debtor or any third-party guarantor or any assets or
 property of same; or (iii) creation, perfection, or enforcement of any encumbrance of any kind
 against the Debtor or any third-party guarantor arising from a Claim. Such injunction expires at
 the end of the Plan term at which time all Allowed Claims will have been paid in accordance with
 the terms of the Plan.


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         8.7     Modification of the Plan

                a.     Prior to Confirmation. The Debtor may modify this Plan at any time prior
         to Confirmation, provided the modification complies with the requirements of sections
         1122, 1123 and 1127 of the Bankruptcy Code. Upon the filing of any such modifications
         with the Bankruptcy Court, the Plan, as modified, becomes the Plan.

                 b.      After Confirmation. The Debtor may modify the Plan at any time after
         Confirmation, upon compliance with Bankruptcy Code § 1127. The Debtor or their
         attorney shall provide notice of any such proposed modification to all Creditors and other
         parties in interest in these Chapter 11 proceedings. If, in the opinion of the Bankruptcy
         Court, the modification does not materially and adversely affect the interest of the
         Creditors, the Bankruptcy Court may modify the Plan without notice to Creditors, or may
         modify the Plan upon notice only to those Creditors that the Bankruptcy Court deems to be
         materially and adversely affected.

         8.8     Retention of Jurisdiction

         The Bankruptcy Court shall retain jurisdiction over this Bankruptcy Case after
 Confirmation of the Plan to the fullest extent provided for, or allowed, under the Bankruptcy Code
 and other applicable law. Specifically, but not by way of limitation, the Bankruptcy Court shall
 retain jurisdiction for the following purposes:

                a.        to consider and effect any modification of this Plan under Bankruptcy Code
         § 1127;

                b.     to hear and determine all controversies, suits and disputes that arise in
         connection with the interpretation, implementation, effectuation, consummation or
         enforcement of this Plan;

                c.     to hear and determine all requests for compensation and/or reimbursement
         of expenses for the period commencing on the Petition Date through the Confirmation
         Date;

                 d.     to hear and determine all objections to Claims and Interests, and to
         determine the appropriate classification of any Claim or Interest, and other controversies,
         suits and disputes that may be pending at or initiated after the Confirmation Date, except
         as provided in the Confirmation Order;

                 e.       to hear and determine all causes of action;

                f.      to consider and act on such other matters consistent with this Plan as may
         be provided in the Confirmation Order;

                 g.    to make such Orders as are necessary and appropriate to carry out and
         implement the provisions of this Plan; including to effect the further assurances provided
         in this Plan;


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                h.     to approve the reasonableness of any payments made or to be made, within
         the meaning of Bankruptcy Code § 1129(a)(4);

                i.       to exercise the jurisdiction granted pursuant to sections 505(a) and (b) of
         the Bankruptcy Code to determine any and all federal, state, Commonwealth, local and
         foreign tax liabilities of, and any and all refunds of such taxes paid by the Debtor;

                j.      to hear and determine any issues or matters in connection with any property
         not timely claimed as provided in this Plan; and

                k.     to determine any and all motions, applications, adversary proceedings and
         Contested matters whether pending in the Case as of the Effective Date or brought
         subsequently by the Debtor.

        Nothing contained herein shall be construed to limit the rights of the Debtor to commence
 or prosecute any claim in any court of competent jurisdiction.

                       ARTICLE IX. MISCELLANEOUS PROVISIONS

         9.1     Request for Relief Under Bankruptcy Code § 1129(b)

        In the event any Impaired Class of Claims or Interests shall fail to accept this Plan in
 accordance with Bankruptcy Code § 1129(a), the Plan Proponents request that the Bankruptcy
 Court confirm this Plan in accordance with the provisions of Bankruptcy Code § 1129(b).

         9.2     Headings

         All headings utilized in this Plan are for convenience and reference only, and shall not
 constitute a part of this Plan for any other purpose.

         9.3     Due Authorization

         Each and every Claimant who elects to participate in the distributions provided for herein
 warrants that such Claimant is authorized to accept, in consideration of such Claim against the
 Debtor, the distributions provided for in this Plan and that there are not outstanding commitments,
 agreements, or understandings, express or implied, that may or can in any way defeat or modify
 the rights conveyed or obligations undertaken by such Claimant under this Plan.

         9.4     Further Assurances and Authorizations

         The Debtor shall seek such orders, judgments, injunctions, and rulings that may be required
 to carry out further the intentions and purposes, and to give full effect to the provisions of, this
 Plan.

         9.5     Applicable Law

         Except to the extent that the Bankruptcy Code or other federal law is applicable, the rights,
 duties, and obligations arising under this Plan shall be governed by and construed and enforced in

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 accordance with the internal laws of the State of Texas without reference to the laws of other
 jurisdictions.

         9.6     No Interest

        Except as expressly stated in this Plan, or allowed by the Bankruptcy Court, no interest,
 penalty, or late charge is to be Allowed on any Claim subsequent to the Petition Date.

         9.7     Post-Confirmation Actions

        After Confirmation, the Debtor may, with the approval of the Bankruptcy Court, and so
 long as it does not materially or adversely affect the interests of the Creditors, remedy any defect
 or omission, or reconcile any inconsistencies in the Plan or in the Confirmation Order, in such
 manner as may be necessary to carry out the purposes and effect of the Plan.

         9.8     Notices of Default

         In the event of a default under the Plan, the affected Claimant or its counsel shall provide
 notice to counsel for the Debtor/Reorganized Debtor. The Debtor/Reorganized Debtor shall have
 twenty (20) days to cure the default. In the event the Debtor/Reorganized Debtor fails to cure the
 default within 20 days after receipt of notice, the Claimant shall be entitled to pursue collection of
 all amounts owed pursuant to state law outside of the Bankruptcy Court. The Debtor/Reorganized
 Debtor shall only be entitled to two notices of default. In the event of a third default, the Claimant
 shall be entitled to pursue collection of all amounts owed pursuant to state law outside the
 Bankruptcy Court without further notice. Failure to timely pay post-petition taxes shall be an event
 of default under the Plan.
         9.9     Notices

          All notices, requests, elections, or demands in connection with the Plan shall be in writing
 and shall be deemed to have been given when received or, if mailed, five (5) days after the date of
 mailing provided such writing shall have been sent by registered or certified mail, postage prepaid,
 return receipt requested. A copy of all notices provided to the Debtor under this Plan shall be sent
 to: (i) the Debtor at 1511 10th St., Wichita Falls, Texas 76301, and (ii) the Debtor’ attorney, Joyce
 W. Lindauer, Joyce W. Lindauer Attorney, PLLC, 1412 Main Street. Suite 500 Dallas TX 75202
 Telephone: (972) 503-4033; Fax: (972) 503-4034; Email: joyce@joycelindauer.com.

         9.10    Payment Dates

         Whenever any payment or distribution to be made under the Plan shall be due on a day
 other than a Business Day, such payment or distribution shall instead be made, without interest,
 on the next Business Day, except as may be provided in negotiable instruments requiring such
 payments.

         9.11    De Minimis Distribution

        No single distribution payment of less than $5.00 shall be required to be made to any holder
 of an Allowed Claim. Rather, any such de minimis distribution amount shall be held by the Debtor,

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 added to the amount of the next distribution, and remitted to the holder of the Allowed Claim upon
 reaching a total greater than $5.00.

         Dated: January 13, 2022.
                                                            Respectfully submitted,

                                                              /s/ Joyce W. Lindauer
                                                            Joyce W. Lindauer
                                                            State Bar No. 21555700
                                                            Joyce W. Lindauer Attorney, PLLC
                                                            1412 Main St. Suite 500
                                                            Dallas, Texas 75202
                                                            Telephone: (972) 503-4033
                                                            Facsimile: (972) 503-4034
                                                            Attorneys for Debtor


                                                             /s/ Paula Wenstrom
                                                            Paula Wenstrom, Debtor




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                                                     EXHIBIT "1"
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 Fill in this information to identify your case and this filing:
 Debtor 1               Paula                    Sue                      Wenstrom
                        First Name               Middle Name              Last Name

 Debtor 2
 (Spouse, if filing) First Name                  Middle Name              Last Name


 United States Bankruptcy Court for the: NORTHERN DISTRICT OF TEXAS

 Case number            21-31978-mvl                                                                                                Check if this is an
 (if known)
                                                                                                                                    amended filing



Official Form 106A/B
Schedule A/B: Property                                                                                                                                        12/15

In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list
the asset in the category where you think it fits best. Be as complete and accurate as possible. If two married people are
filing together, both are equally responsible for supplying correct information. If more space is needed, attach a separate
sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.


 Part 1:          Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1.     Do you own or have any legal or equitable interest in any residence, building, land, or similar property?
            No. Go to Part 2.
            Yes. Where is the property?

1.1.                                                     What is the property?                               Do not deduct secured claims or exemptions. Put the
8923 Devonshire                                          Check all that apply.                               amount of any secured claims on Schedule D:
Dallas, TX 75209                                              Single-family home                             Creditors Who Have Claims Secured by Property.
                                                              Duplex or multi-unit building                  Current value of the             Current value of the
                                                              Condominium or cooperative                     entire property?                 portion you own?
Dallas
County                                                        Manufactured or mobile home                              $2,300,000.00                $2,300,000.00
                                                              Land
                                                              Investment property                            Describe the nature of your ownership
                                                              Timeshare                                      interest (such as fee simple, tenancy by the
                                                              Other                                          entireties, or a life estate), if known.

                                                         Who has an interest in the property?
                                                                                                             Homestead
                                                         Check one.
                                                              Debtor 1 only                                       Check if this is community property
                                                              Debtor 2 only                                       (see instructions)
                                                              Debtor 1 and Debtor 2 only
                                                              At least one of the debtors and another

                                                         Other information you wish to add about this item, such as local
                                                         property identification number:

2.     Add the dollar value of the portion you own for all of your entries from Part 1, including any
       entries for pages you have attached for Part 1. Write that number here.............................................................          $2,300,000.00




                                                                                                            EXHIBIT "2"
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Debtor 1         Paula Sue Wenstrom                                                                  Case number (if known)         21-31978-mvl


 Part 2:          Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.


3.   Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

           No
           Yes

3.1.                                                   Who has an interest in the property?                Do not deduct secured claims or exemptions. Put the
Make:                     Mercedes                     Check one.                                          amount of any secured claims on Schedule D:
                                                            Debtor 1 only                                  Creditors Who Have Claims Secured by Property.
Model:                    E320
                                                            Debtor 2 only                           Current value of the                    Current value of the
Year:                     2003
                                                            Debtor 1 and Debtor 2 only              entire property?                        portion you own?
Approximate mileage: 91,000                                 At least one of the debtors and another             $3,000.00                              $3,000.00
Other information:
2003 Mercedes E320 (approx. 91,000                          Check if this is community property
miles)                                                      (see instructions)
4.   Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
     Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories
           No
           Yes

5.   Add the dollar value of the portion you own for all of your entries from Part 2, including any
     entries for pages you have attached for Part 2. Write that number here.............................................................               $3,000.00


 Part 3:          Describe Your Personal and Household Items
                                                                                                                                            Current value of the
Do you own or have any legal or equitable interest in any of the following items?
                                                                                                                                            portion you own?
                                                                                                                                            Do not deduct secured
                                                                                                                                            claims or exemptions.

6.   Household goods and furnishings
     Examples: Major appliances, furniture, linens, china, kitchenware
           No
           Yes. Describe............
                               Miscellaneous Furniture and Linens for 6900 square foot home with 5                                                   $26,000.00
                                bedrooms, 4-1/2 baths, 2 living areas, 2 dens, study, kitchen, dining room,
                                breakfast room including: Sub-Zero Refrigerator,
                                Viking Gas Range, Fischer and Pachal Oven, Television and mother-in-law
                                suite with 1 living area, 1 bedroom and 1 bath

7.   Electronics
     Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners;
                music collections; electronic devices including cell phones, cameras, media players, games
           No
           Yes. Describe............
                               Samsung 60" TV                                                                                                            $500.00


8.   Collectibles of value
     Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;
                stamp, coin, or baseball card collections; other collections, memorabilia, collectibles
           No
           Yes. Describe............
                               Miscellaneous Antiques, Paintings, Artwork and Books                                                                  $20,000.00




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Debtor 1          Paula Sue Wenstrom                                                                                                 Case number (if known)                  21-31978-mvl

9.    Equipment for sports and hobbies
      Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis;
                canoes and kayaks; carpentry tools; musical instruments
            No
            Yes. Describe............


10. Firearms
    Examples: Pistols, rifles, shotguns, ammunition, and related equipment
            No
            Yes. Describe............


11. Clothes
    Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
            No
            Yes. Describe............
                                Miscellaneous Clothing, Shoes, and Accessories                                                                                                                           $3,500.00


12. Jewelry
    Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems,
              gold, silver
            No
            Yes. Describe............
                                Miscellaneous Jewelry - $1,000                                                                                                                                           $4,000.00
                                         Diamond Earrings - $3,000

13. Non-farm animals
    Examples: Dogs, cats, birds, horses
            No
            Yes. Describe............
                                2 Dogs and 1 Cat                                                                                                                                                             $250.00


14. Any other personal and household items you did not already list, including any health aids you
    did not list
            No
            Yes. Give specific
            information......................


15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have
    attached for Part 3. Write the number here.......................................................................................................................                                  $54,250.00


  Part 4:           Describe Your Financial Assets
                                                                                                                                                                                        Current value of the
Do you own or have any legal or equitable interest in any of the following?
                                                                                                                                                                                        portion you own?
                                                                                                                                                                                        Do not deduct secured
                                                                                                                                                                                        claims or exemptions.

16. Cash
    Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your
              petition
            No
            Yes.....................................................................................................................................................................................................
                                                                                                                                                     Cash: ...........................................               $45.00




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Debtor 1         Paula Sue Wenstrom                                                                   Case number (if known)   21-31978-mvl

17. Deposits of money
    Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions,
              brokerage houses, and other similar institutions. If you have multiple accounts with the same
              institution, list each.

           No
           Yes..............................             Institution name:

            17.1.       Checking account:                Plains Capital Bank checking account                                                   $17.00
18. Bonds, mutual funds, or publicly traded stocks
    Examples: Bond funds, investment accounts with brokerage firms, money market accounts
           No
           Yes.............................. Institution or issuer name:

19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including
    an interest in an LLC, partnership, and joint venture
           No
           Yes. Give specific
           information about
           them...............................................
                                              Name of entity:                                                     % of ownership:

                                               Queen Dog Inc.
                                               d/b/a My Unique Office
                                               E-Commerce website - not yet launched                                   45%                    $1,000.00
                                               Queen Dog Inc.
                                               d/b/a My Unique Closet
                                               E-Commerce website - not yet launched                                   45%                    $1,000.00
                                               Putsi Inc.
                                               d/b/a Cultural Surroundings                                             100%                   Unknown
20. Government and corporate bonds and other negotiable and non-negotiable instruments
    Negotiable instruments include personal checks, cashiers' checks, promissory notes, and money orders.
    Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
           No
           Yes. Give specific
           information about
           them...............................................
                                              Issuer name:
21. Retirement or pension accounts
    Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or
              profit-sharing plans
           No
           Yes. List each
           account separately.             Type of account:         Institution name:
22. Security deposits and prepayments
    Your share of all unused deposits you have made so that you may continue service or use from a company
    Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications
    companies, or others

           No
           Yes..............................                     Institution name or individual:
                          Electric:                              TXU Security Deposit                                                          $500.00

                          Gas:                                   Atmos Energy Security Deposit                                                 $250.00

                          Water:                                 Dallas Water Utilities Security Deposit                                       $200.00




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Debtor 1        Paula Sue Wenstrom                                                               Case number (if known)       21-31978-mvl

23. Annuities (A contract for a specific periodic payment of money to you, either for life or for a number of years)
       No
       Yes.............................. Issuer name and description:
24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
    26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
           No
           Yes.............................. Institution name and description. Separately file the records of any interests. 11 U.S.C. § 521(c)
25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or
    powers exercisable for your benefit
           No
           Yes. Give specific
           information about them

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property;
    Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
           No
           Yes. Give specific
           information about them

27. Licenses, franchises, and other general intangibles
    Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
           No
           Yes. Give specific
           information about them

Money or property owed to you?                                                                                                          Current value of the
                                                                                                                                        portion you own?
                                                                                                                                        Do not deduct secured
                                                                                                                                        claims or exemptions.

28. Tax refunds owed to you

           No
           Yes. Give specific information                                                                                    Federal:
           about them, including whether
           you already filed the returns                                                                                     State:
           and the tax years.....................................
                                                                                                                             Local:

29. Family support
    Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
           No
           Yes. Give specific information                                                                       Alimony:

                                                                                                                Maintenance:

                                                                                                                Support:

                                                                                                                Divorce settlement:

                                                                                                                Property settlement:

30. Other amounts someone owes you
    Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers'
              compensation, Social Security benefits; unpaid loans you made to someone else
           No
           Yes. Give specific information




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Debtor 1         Paula Sue Wenstrom                                                                                  Case number (if known)             21-31978-mvl

31. Interests in insurance policies
    Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner's, or renter's insurance
            No
            Yes. Name the insurance
            company of each policy
            and list its value................    Company name:                                                 Beneficiary:                                Surrender or refund value:

                                                  State Farm Life Insurance Policy - No
                                                  cash value
                                                  Face Value: $150,000 to be split                              Montgomery McKenzie &
                                                  50/50 between beneficiaries                                   Gavin McKenzie                                                  $0.00
32. Any interest in property that is due you from someone who has died
    If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently
    entitled to receive property because someone has died
            No
            Yes. Give specific information


33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
    Examples: Accidents, employment disputes, insurance claims, or rights to sue
            No
            Yes. Describe each claim..............


34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and
    rights to set off claims
            No
            Yes. Describe each claim..............


35. Any financial assets you did not already list

            No
            Yes. Give specific information


36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have
    attached for Part 4. Write that number here.......................................................................................................................     $3,012.00


  Part 5: Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?

            No. Go to Part 6.
            Yes. Go to line 38.

                                                                                                                                                                 Current value of the
                                                                                                                                                                 portion you own?
                                                                                                                                                                 Do not deduct secured
                                                                                                                                                                 claims or exemptions.
38. Accounts receivable or commissions you already earned

            No
            Yes. Describe................


39. Office equipment, furnishings, and supplies
    Examples: Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones,
               desks, chairs, electronic devices
            No
            Yes. Describe................



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Debtor 1          Paula Sue Wenstrom                                                                                 Case number (if known)             21-31978-mvl

40. Machinery, fixtures, equipment, supplies you use in business, and tools of your trade

            No
            Yes. Describe................


41. Inventory

            No
            Yes. Describe................


42. Interests in partnerships or joint ventures

            No
            Yes. Describe................
                                Name of entity:                                                                                       % of ownership:

43. Customer lists, mailing lists, or other compilations

            No
            Yes. Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?
                    No
                    Yes. Describe..............


44. Any business-related property you did not already list

            No
            Yes. Give specific information.

45. Add the dollar value of all of your entries from Part 5, including any entries for pages you have
    attached for Part 5. Write that number here.......................................................................................................................          $0.00


  Part 6: Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
                If you own or have an interest in farmland, list it in Part 1.

46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?

            No. Go to Part 7.
            Yes. Go to line 47.

                                                                                                                                                                 Current value of the
                                                                                                                                                                 portion you own?
                                                                                                                                                                 Do not deduct secured
                                                                                                                                                                 claims or exemptions.
47. Farm animals
    Examples: Livestock, poultry, farm-raised fish
            No
            Yes............................


48. Crops--either growing or harvested

            No
            Yes. Give specific
            information..........................

49. Farm and fishing equipment, implements, machinery, fixtures, and tools of trade

            No
            Yes..............................




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Debtor 1           Paula Sue Wenstrom                                                                                         Case number (if known)                21-31978-mvl

50. Farm and fishing supplies, chemicals, and feed

             No
             Yes..............................


51. Any farm- and commercial fishing-related property you did not already list

             No
             Yes. Give specific
             information..........................

52. Add the dollar value of all of your entries from Part 6, including any entries for pages you have
    attached for Part 6. Write that number here.......................................................................................................................                       $0.00


  Part 7: Describe All Property You Own or Have an Interest in That You Did Not List Above

53. Do you have other property of any kind you did not already list?
    Examples: Season tickets, country club membership

             No
             Yes. Give specific information.


54. Add the dollar value of all of your entries from Part 7. Write that number here.................................................                                                         $0.00


  Part 8: List the Totals of Each Part of this Form

55. Part 1: Total real estate, line 2..............................................................................................................................................   $2,300,000.00

56. Part 2: Total vehicles, line 5                                                                                    $3,000.00

57. Part 3: Total personal and household items, line 15                                                             $54,250.00

58. Part 4: Total financial assets, line 36                                                                           $3,012.00

59. Part 5: Total business-related property, line 45                                                                         $0.00

60. Part 6: Total farm- and fishing-related property, line 52                                                                $0.00

61. Part 7: Total other property not listed, line 54                                               +                         $0.00

                                                                                                                                            Copy personal
62. Total personal property.                     Add lines 56 through 61.................................           $60,262.00              property total                 +            $60,262.00



63. Total of all property on Schedule A/B.                                                                                                                                              $2,360,262.00
                                                                    Add line 55 + line 62.......................................................................................................




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CHAPTER 11 DEBTOR PROJECTIONS
Paula Sue Westrom
                                                                          Month        Month       Month        Month       Month        Month       Month
                                                                           1            2           3            4           5            6           7
INCOME
                        Gross Monthly Wages                               33,000.00    33,000.00   33,000.00    33,000.00   33,000.00    33,000.00   33,000.00
                        Legal Retainer                                     9,238.00
                        NET INCOME                                        42,238.00    33,000.00   33,000.00    33,000.00   33,000.00    33,000.00   33,000.00
EXPENSES
                        Payroll Taxes (Medicare, Social Security)          3,000.00     3,000.00    3,000.00     3,000.00    3,000.00     3,000.00    3,000.00
                        Insurance (payroll deduction)                        150.00       150.00      150.00       150.00      150.00       150.00      150.00
                        Home Maintenance and Repairs                         500.00       500.00      500.00       500.00      500.00       500.00      500.00
                        Electric/Gas                                         650.00       650.00      650.00       650.00      650.00       650.00      650.00
                        Water/Sewer/Trash                                    150.00       150.00      150.00       150.00      150.00       150.00      150.00
                        Food and Housekeeping Supplies                     1,500.00     1,500.00    1,500.00     1,500.00    1,500.00     1,500.00    1,500.00
                        Cleaning, Laundry and Dry Cleaning                   100.00       100.00      100.00       100.00      100.00       100.00      100.00
                        Personal Care Products and Services                  250.00       250.00      250.00       250.00      250.00       250.00      250.00
                        Medical and Dental Expenses                          100.00       100.00      100.00       100.00      100.00       100.00      100.00
                        Insurance - Life                                     100.00       100.00      100.00       100.00      100.00       100.00      100.00
                        Insurance - Health                                   250.00       250.00      250.00       250.00      250.00       250.00      250.00
                        Federal Income Tax Withheld                        8,000.00     8,000.00    8,000.00     8,000.00    8,000.00     8,000.00    8,000.00
                        College Tuition, Fees and Living Expenses (son)      500.00       500.00      500.00       500.00      500.00       500.00      500.00
                        TOTAL EXPENSES                                    15,250.00    15,250.00   15,250.00    15,250.00   15,250.00    15,250.00   15,250.00
PLAN PAYMENTS   Class
                  x     Allowed Administrative Claims                      4,000.00     4,000.00    4,000.00
                  1     Allowed Secured Claim of PNC Mortgage             11,000.00    11,000.00   11,000.00    11,000.00   11,000.00    11,000.00   11,000.00
                  2     Allowed Secured Claim of Dallas County             1,129.71     1,129.71    1,129.71     1,129.71    1,129.71     1,129.71    1,129.71
                  3     Allowed Secured Claim of IRS                       2,315.01     2,315.01    2,315.01     2,315.01    2,315.01     2,315.01    2,315.01
                  4     Allowed Pririty Tax Claim of IRS                   1,072.13     1,072.13    1,072.13     1,072.13    1,072.13     1,072.13    1,072.13
                  5     Allowed Unsecured Claims                           1,000.00     1,000.00    1,000.00     1,000.00    1,000.00     1,000.00    1,000.00
                  6     Debtor
                        TOTAL PLAN PAYMENTS                               20,516.85    20,516.85   20,516.85    16,516.85   16,516.85    16,516.85   16,516.85
NET INCOME                                                                 6,471.15    -2,766.85   -2,766.85     1,233.15    1,233.15     1,233.15    1,233.15
CUMULATIVE INCOME                                                          6,471.15     3,704.30      937.45     2,170.60    3,403.75     4,636.90    5,870.05



Treatments:      1      Current monthly payment, extend number of months to cover arrearage
                 2      60 mo @ 12%, $50,785.96
                 3      60 mo@ 3%, $128,835.51
                 4      5 yrs from petition @ 3% (.025% monthly); $54,349.46, Add est 5 mo int of $679.36; 55 mo based upon $55,028.82
                 5      Pro-rata share of $1000 for 36 mo.


                                                                                                                    EXHIBIT "3"
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Month       Month         Month       Month       Month       Month       Month       Month       Month       Month       Month       Month
 8           9             10          11          12          13          14          15          16          17          18          19

33,000.00   33,000.00     33,000.00   33,000.00   33,000.00   33,000.00   33,000.00   33,000.00   33,000.00   33,000.00   33,000.00   33,000.00

33,000.00   33,000.00     33,000.00   33,000.00   33,000.00   33,000.00   33,000.00   33,000.00   33,000.00   33,000.00   33,000.00   33,000.00

 3,000.00    3,000.00      3,000.00    3,000.00    3,000.00    3,000.00    3,000.00    3,000.00    3,000.00    3,000.00    3,000.00    3,000.00
   150.00      150.00        150.00      150.00      150.00      150.00      150.00      150.00      150.00      150.00      150.00      150.00
   500.00      500.00        500.00      500.00      500.00      500.00      500.00      500.00      500.00      500.00      500.00      500.00
   650.00      650.00        650.00      650.00      650.00      650.00      650.00      650.00      650.00      650.00      650.00      650.00
   150.00      150.00        150.00      150.00      150.00      150.00      150.00      150.00      150.00      150.00      150.00      150.00
 1,500.00    1,500.00      1,500.00    1,500.00    1,500.00    1,500.00    1,500.00    1,500.00    1,500.00    1,500.00    1,500.00    1,500.00
   100.00      100.00        100.00      100.00      100.00      100.00      100.00      100.00      100.00      100.00      100.00      100.00
   250.00      250.00        250.00      250.00      250.00      250.00      250.00      250.00      250.00      250.00      250.00      250.00
   100.00      100.00        100.00      100.00      100.00      100.00      100.00      100.00      100.00      100.00      100.00      100.00
   100.00      100.00        100.00      100.00      100.00      100.00      100.00      100.00      100.00      100.00      100.00      100.00
   250.00      250.00        250.00      250.00      250.00      250.00      250.00      250.00      250.00      250.00      250.00      250.00
 8,000.00    8,000.00      8,000.00    8,000.00    8,000.00    8,000.00    8,000.00    8,000.00    8,000.00    8,000.00    8,000.00    8,000.00
   500.00      500.00        500.00      500.00      500.00      500.00      500.00      500.00      500.00      500.00      500.00      500.00
15,250.00   15,250.00     15,250.00   15,250.00   15,250.00   15,250.00   15,250.00   15,250.00   15,250.00   15,250.00   15,250.00   15,250.00



11,000.00   11,000.00     11,000.00   11,000.00   11,000.00   11,000.00   11,000.00   11,000.00   11,000.00   11,000.00   11,000.00   11,000.00
 1,129.71    1,129.71      1,129.71    1,129.71    1,129.71    1,129.71    1,129.71    1,129.71    1,129.71    1,129.71    1,129.71    1,129.71
 2,315.01    2,315.01      2,315.01    2,315.01    2,315.01    2,315.01    2,315.01    2,315.01    2,315.01    2,315.01    2,315.01    2,315.01
 1,072.13    1,072.13      1,072.13    1,072.13    1,072.13    1,072.13    1,072.13    1,072.13    1,072.13    1,072.13    1,072.13    1,072.13
 1,000.00    1,000.00      1,000.00    1,000.00    1,000.00    1,000.00    1,000.00    1,000.00    1,000.00    1,000.00    1,000.00    1,000.00

16,516.85   16,516.85     16,516.85   16,516.85   16,516.85   16,516.85   16,516.85   16,516.85   16,516.85   16,516.85   16,516.85   16,516.85
 1,233.15    1,233.15      1,233.15    1,233.15    1,233.15    1,233.15    1,233.15    1,233.15    1,233.15    1,233.15    1,233.15    1,233.15
 7,103.20    8,336.35      9,569.50   10,802.65   12,035.80   13,268.95   14,502.10   15,735.25   16,968.40   18,201.55   19,434.70   20,667.85
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Month       Month       Month       Month       Month       Month       Month       Month       Month        Month        Month       Month
 20          21          22          23          24          25          26          27          28           29           30          31

33,000.00   33,000.00   33,000.00   33,000.00   33,000.00   33,000.00   33,000.00   33,000.00   33,000.00     33,000.00   33,000.00   33,000.00

33,000.00   33,000.00   33,000.00   33,000.00   33,000.00   33,000.00   33,000.00   33,000.00   33,000.00     33,000.00   33,000.00   33,000.00

 3,000.00    3,000.00    3,000.00    3,000.00    3,000.00    3,000.00    3,000.00    3,000.00    3,000.00      3,000.00    3,000.00    3,000.00
   150.00      150.00      150.00      150.00      150.00      150.00      150.00      150.00      150.00        150.00      150.00      150.00
   500.00      500.00      500.00      500.00      500.00      500.00      500.00      500.00      500.00        500.00      500.00      500.00
   650.00      650.00      650.00      650.00      650.00      650.00      650.00      650.00      650.00        650.00      650.00      650.00
   150.00      150.00      150.00      150.00      150.00      150.00      150.00      150.00      150.00        150.00      150.00      150.00
 1,500.00    1,500.00    1,500.00    1,500.00    1,500.00    1,500.00    1,500.00    1,500.00    1,500.00      1,500.00    1,500.00    1,500.00
   100.00      100.00      100.00      100.00      100.00      100.00      100.00      100.00      100.00        100.00      100.00      100.00
   250.00      250.00      250.00      250.00      250.00      250.00      250.00      250.00      250.00        250.00      250.00      250.00
   100.00      100.00      100.00      100.00      100.00      100.00      100.00      100.00      100.00        100.00      100.00      100.00
   100.00      100.00      100.00      100.00      100.00      100.00      100.00      100.00      100.00        100.00      100.00      100.00
   250.00      250.00      250.00      250.00      250.00      250.00      250.00      250.00      250.00        250.00      250.00      250.00
 8,000.00    8,000.00    8,000.00    8,000.00    8,000.00    8,000.00    8,000.00    8,000.00    8,000.00      8,000.00    8,000.00    8,000.00
   500.00      500.00      500.00      500.00      500.00      500.00      500.00      500.00      500.00        500.00      500.00      500.00
15,250.00   15,250.00   15,250.00   15,250.00   15,250.00   15,250.00   15,250.00   15,250.00   15,250.00     15,250.00   15,250.00   15,250.00



11,000.00   11,000.00   11,000.00   11,000.00   11,000.00   11,000.00   11,000.00   11,000.00   11,000.00     11,000.00   11,000.00   11,000.00
 1,129.71    1,129.71    1,129.71    1,129.71    1,129.71    1,129.71    1,129.71    1,129.71    1,129.71      1,129.71    1,129.71    1,129.71
 2,315.01    2,315.01    2,315.01    2,315.01    2,315.01    2,315.01    2,315.01    2,315.01    2,315.01      2,315.01    2,315.01    2,315.01
 1,072.13    1,072.13    1,072.13    1,072.13    1,072.13    1,072.13    1,072.13    1,072.13    1,072.13      1,072.13    1,072.13    1,072.13
 1,000.00    1,000.00    1,000.00    1,000.00    1,000.00    1,000.00    1,000.00    1,000.00    1,000.00      1,000.00    1,000.00    1,000.00

16,516.85   16,516.85   16,516.85   16,516.85   16,516.85   16,516.85   16,516.85   16,516.85   16,516.85     16,516.85   16,516.85   16,516.85
 1,233.15    1,233.15    1,233.15    1,233.15    1,233.15    1,233.15    1,233.15    1,233.15    1,233.15      1,233.15    1,233.15    1,233.15
21,901.00   23,134.15   24,367.30   25,600.45   26,833.60   28,066.75   29,299.90   30,533.05   31,766.20     32,999.35   34,232.50   35,465.65
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Month       Month       Month       Month       Month       Month       Month       Month       Month        Month        Month       Month
 32          33          34          35          36          37          38          39          40           41           42          43

33,000.00   33,000.00   33,000.00   33,000.00   33,000.00   33,000.00   33,000.00   33,000.00   33,000.00     33,000.00   33,000.00   33,000.00

33,000.00   33,000.00   33,000.00   33,000.00   33,000.00   33,000.00   33,000.00   33,000.00   33,000.00     33,000.00   33,000.00   33,000.00

 3,000.00    3,000.00    3,000.00    3,000.00    3,000.00    3,000.00    3,000.00    3,000.00    3,000.00      3,000.00    3,000.00    3,000.00
   150.00      150.00      150.00      150.00      150.00      150.00      150.00      150.00      150.00        150.00      150.00      150.00
   500.00      500.00      500.00      500.00      500.00      500.00      500.00      500.00      500.00        500.00      500.00      500.00
   650.00      650.00      650.00      650.00      650.00      650.00      650.00      650.00      650.00        650.00      650.00      650.00
   150.00      150.00      150.00      150.00      150.00      150.00      150.00      150.00      150.00        150.00      150.00      150.00
 1,500.00    1,500.00    1,500.00    1,500.00    1,500.00    1,500.00    1,500.00    1,500.00    1,500.00      1,500.00    1,500.00    1,500.00
   100.00      100.00      100.00      100.00      100.00      100.00      100.00      100.00      100.00        100.00      100.00      100.00
   250.00      250.00      250.00      250.00      250.00      250.00      250.00      250.00      250.00        250.00      250.00      250.00
   100.00      100.00      100.00      100.00      100.00      100.00      100.00      100.00      100.00        100.00      100.00      100.00
   100.00      100.00      100.00      100.00      100.00      100.00      100.00      100.00      100.00        100.00      100.00      100.00
   250.00      250.00      250.00      250.00      250.00      250.00      250.00      250.00      250.00        250.00      250.00      250.00
 8,000.00    8,000.00    8,000.00    8,000.00    8,000.00    8,000.00    8,000.00    8,000.00    8,000.00      8,000.00    8,000.00    8,000.00
   500.00      500.00      500.00      500.00      500.00      500.00      500.00      500.00      500.00        500.00      500.00      500.00
15,250.00   15,250.00   15,250.00   15,250.00   15,250.00   15,250.00   15,250.00   15,250.00   15,250.00     15,250.00   15,250.00   15,250.00



11,000.00   11,000.00   11,000.00   11,000.00   11,000.00   11,000.00   11,000.00   11,000.00   11,000.00     11,000.00   11,000.00   11,000.00
 1,129.71    1,129.71    1,129.71    1,129.71    1,129.71    1,129.71    1,129.71    1,129.71    1,129.71      1,129.71    1,129.71    1,129.71
 2,315.01    2,315.01    2,315.01    2,315.01    2,315.01    2,315.01    2,315.01    2,315.01    2,315.01      2,315.01    2,315.01    2,315.01
 1,072.13    1,072.13    1,072.13    1,072.13    1,072.13    1,072.13    1,072.13    1,072.13    1,072.13      1,072.13    1,072.13    1,072.13
 1,000.00    1,000.00    1,000.00    1,000.00    1,000.00

16,516.85   16,516.85   16,516.85   16,516.85   16,516.85   15,516.85   15,516.85   15,516.85   15,516.85     15,516.85   15,516.85   15,516.85
 1,233.15    1,233.15    1,233.15    1,233.15    1,233.15    2,233.15    2,233.15    2,233.15    2,233.15      2,233.15    2,233.15    2,233.15
36,698.80   37,931.95   39,165.10   40,398.25   41,631.40   43,864.55   46,097.70   48,330.85   50,564.00     52,797.15   55,030.30   57,263.45
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Month       Month       Month       Month       Month       Month       Month       Month       Month        Month        Month       Month
 44          45          46          47          48          49          50          51          52           53           54          55

33,000.00   33,000.00   33,000.00   33,000.00   33,000.00   33,000.00   33,000.00   33,000.00   33,000.00     33,000.00   33,000.00   33,000.00

33,000.00   33,000.00   33,000.00   33,000.00   33,000.00   33,000.00   33,000.00   33,000.00   33,000.00     33,000.00   33,000.00   33,000.00

 3,000.00    3,000.00    3,000.00    3,000.00    3,000.00    3,000.00    3,000.00    3,000.00    3,000.00      3,000.00    3,000.00    3,000.00
   150.00      150.00      150.00      150.00      150.00      150.00      150.00      150.00      150.00        150.00      150.00      150.00
   500.00      500.00      500.00      500.00      500.00      500.00      500.00      500.00      500.00        500.00      500.00      500.00
   650.00      650.00      650.00      650.00      650.00      650.00      650.00      650.00      650.00        650.00      650.00      650.00
   150.00      150.00      150.00      150.00      150.00      150.00      150.00      150.00      150.00        150.00      150.00      150.00
 1,500.00    1,500.00    1,500.00    1,500.00    1,500.00    1,500.00    1,500.00    1,500.00    1,500.00      1,500.00    1,500.00    1,500.00
   100.00      100.00      100.00      100.00      100.00      100.00      100.00      100.00      100.00        100.00      100.00      100.00
   250.00      250.00      250.00      250.00      250.00      250.00      250.00      250.00      250.00        250.00      250.00      250.00
   100.00      100.00      100.00      100.00      100.00      100.00      100.00      100.00      100.00        100.00      100.00      100.00
   100.00      100.00      100.00      100.00      100.00      100.00      100.00      100.00      100.00        100.00      100.00      100.00
   250.00      250.00      250.00      250.00      250.00      250.00      250.00      250.00      250.00        250.00      250.00      250.00
 8,000.00    8,000.00    8,000.00    8,000.00    8,000.00    8,000.00    8,000.00    8,000.00    8,000.00      8,000.00    8,000.00    8,000.00
   500.00      500.00      500.00      500.00      500.00      500.00      500.00      500.00      500.00        500.00      500.00      500.00
15,250.00   15,250.00   15,250.00   15,250.00   15,250.00   15,250.00   15,250.00   15,250.00   15,250.00     15,250.00   15,250.00   15,250.00



11,000.00   11,000.00   11,000.00   11,000.00   11,000.00   11,000.00   11,000.00   11,000.00   11,000.00     11,000.00   11,000.00   11,000.00
 1,129.71    1,129.71    1,129.71    1,129.71    1,129.71    1,129.71    1,129.71    1,129.71    1,129.71      1,129.71    1,129.71    1,129.71
 2,315.01    2,315.01    2,315.01    2,315.01    2,315.01    2,315.01    2,315.01    2,315.01    2,315.01      2,315.01    2,315.01    2,315.01
 1,072.13    1,072.13    1,072.13    1,072.13    1,072.13    1,072.13    1,072.13    1,072.13    1,072.13      1,072.13    1,072.13    1,072.13



15,516.85   15,516.85   15,516.85   15,516.85   15,516.85   15,516.85   15,516.85   15,516.85   15,516.85     15,516.85   15,516.85   15,516.85
 2,233.15    2,233.15    2,233.15    2,233.15    2,233.15    2,233.15    2,233.15    2,233.15    2,233.15      2,233.15    2,233.15    2,233.15
59,496.60   61,729.75   63,962.90   66,196.05   68,429.20   70,662.35   72,895.50   75,128.65   77,361.80     79,594.95   81,828.10   84,061.25
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Month       Month       Month       Month       Month
 56          57          58          59          60

33,000.00   33,000.00   33,000.00   33,000.00    33,000.00

33,000.00   33,000.00   33,000.00   33,000.00    33,000.00

 3,000.00    3,000.00    3,000.00    3,000.00     3,000.00
   150.00      150.00      150.00      150.00       150.00
   500.00      500.00      500.00      500.00       500.00
   650.00      650.00      650.00      650.00       650.00
   150.00      150.00      150.00      150.00       150.00
 1,500.00    1,500.00    1,500.00    1,500.00     1,500.00
   100.00      100.00      100.00      100.00       100.00
   250.00      250.00      250.00      250.00       250.00
   100.00      100.00      100.00      100.00       100.00
   100.00      100.00      100.00      100.00       100.00
   250.00      250.00      250.00      250.00       250.00
 8,000.00    8,000.00    8,000.00    8,000.00     8,000.00
   500.00      500.00      500.00      500.00       500.00
15,250.00   15,250.00   15,250.00   15,250.00    15,250.00



11,000.00   11,000.00   11,000.00   11,000.00    11,000.00
 1,129.71    1,129.71    1,129.71    1,129.71     1,129.71
 2,315.01    2,315.01    2,315.01    2,315.01     2,315.01




14,444.72   14,444.72   14,444.72   14,444.72    14,444.72
 3,305.28    3,305.28    3,305.28    3,305.28     3,305.28
87,366.53   90,671.81   93,977.09   97,282.37   100,587.65
